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UNITED STATES DISTRICT COURT
                                                                        FILED
                                                                      May 16, 2025
WESTERN DISTRICT OF TEXAS                                        CLERK, U.S. DISTRICT COURT
                                                                 WESTERN DISTRICT OF TEXAS

WACO DIVISION                                                                  cap
                                                              BY: ________________________________
                                                                                      DEPUTY



GAMES WORKSHOP LIMITED,

     Plaintiff,



v.                                                       Case No. 6:25-cv-00147-ADA



THE INDIVIDUALS, PARTNERSHIPS,

AND UNINCORPORATED ASSOCIATIONS

IDENTIFIED ON SCHEDULE A,

     Defendants.




MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
Defendant AlexUold OU, a foreign limited liability company registered in Estonia and
proceeding pro se, respectfully moves this Court to dismiss the Complaint filed by
Plaintiff Games Workshop Limited pursuant to Federal Rule of Civil Procedure 12(b)(2),
for lack of personal jurisdiction.

I. INTRODUCTION
AlexUold OU does not conduct business in the State of Texas, has no physical presence,
employees, or assets in Texas, and does not purposefully direct any activities toward
Texas residents. Defendant’s commercial activity consists solely of selling products
through Amazon’s Fulfillment by Amazon (FBA) platform, where Amazon manages
storage and delivery independently. Any shipment into Texas is incidental and not
controlled by Defendant.

II. LEGAL STANDARD
To exercise personal jurisdiction, a court must find that the defendant has sufficient
minimum contacts with the forum state, such that maintenance of the suit does not offend
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traditional notions of fair play and substantial justice. (See International Shoe Co. v.
Washington, 326 U.S. 310 (1945)). Mere placement of goods into the stream of
commerce, without more, does not constitute purposeful availment. (Asahi Metal
Industry Co. v. Superior Court, 480 U.S. 102 (1987)).

III. ARGUMENT
Defendant AlexUold OU has not purposefully directed business activity toward Texas.
The use of Amazon FBA does not create a sufficient connection to establish personal
jurisdiction. Courts have routinely held that selling through third-party platforms like
Amazon does not establish jurisdiction unless there is forum-specific targeting, which is
not the case here. Indeed, courts routinely hold that passive participation in a third-party
marketplace, without targeted sales efforts, advertisements, or intentional business in the
forum state, does not establish personal jurisdiction. See Boschetto v. Hansing, 539 F.3d
1011, 1019 (9th Cir. 2008).

Defendant has no office, employees, bank accounts, contracts, or advertisements
targeting Texas. The business operates remotely from Estonia and has no intentional
interaction with Texas or its residents. Plaintiff, in contrast, maintains substantial
operations and retail presence in various U.S. states, including Texas, further highlighting
the lack of nexus between Defendant and this forum.

IV. CONCLUSION
Because Plaintiff has failed to establish that this Court has personal jurisdiction over
Defendant, this action should be dismissed pursuant to Federal Rule of Civil Procedure
12(b)(2).


Dated: May 16, 2025

Respectfully submitted,


/s/ Aleksandr Kudriashov

Managing Member, AlexUold OU

alexumagamz@gmail.com
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DECLARATION OF ALEKSANDR KUDRIASHOV
1. I am the Managing Member of AlexUold OU, a limited liability company registered in
Estonia.
2. My company has no physical presence, employees, offices, bank accounts, or direct
business operations in the State of Texas.
3. All product distribution is performed through Amazon’s Fulfillment by Amazon (FBA)
system. My company does not direct Amazon to ship products to Texas nor target
consumers in Texas.
4. I have never traveled to Texas in relation to this business and have no contacts with
any person or entity located in Texas.
5. I declare under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.


Executed on May 16, 2025.

/s/ Aleksandr Kudriashov

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[PROPOSED] ORDER GRANTING MOTION TO DISMISS
Before the Court is Defendant’s Motion to Dismiss for Lack of Personal Jurisdiction.
Having considered the Motion, the Court finds good cause to GRANT the Motion.

IT IS HEREBY ORDERED that Plaintiff’s Complaint is DISMISSED without prejudice
pursuant to Federal Rule of Civil Procedure 12(b)(2).

SO ORDERED.


Dated: __________________________

__________________________________

Hon. Alan D. Albright

United States District Judge
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CERTIFICATE OF SERVICE
I certify that on May 16, 2025, a true and correct copy of the foregoing

document was served via e‑mail upon Plaintiff’s counsel at rweaver@brickellip.com.


/s/ Aleksandr Kudriashov

Managing Member, AlexUold OU

alexumagamz@gmail.com
